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PS-8 (12/04)
VAE (rev 9/19)




                                          UNITED STATES DISTRICT COURT
                                                     for the
                                          EASTERN DISTRICT OF VIRGINIA

U.S.A. vs. Marianne Raquel Miller                                                                     Docket No. 1:22-PO-159

                                       Petition for Action on Conditions of Pretrial Release

              COMES NOW, Kenneth G. Orsino, PROBATION OFFICER, presenting an official report upon
the conduct of defendant Marianne Raquel Miller, who was placed under pretrial release supervision by the
Honorable Ivan D. Davis, United States Magistrate Judge sitting in the court at 401 Courthouse Square,
Alexandria, VA 22314, on February 24, 2022, under the following conditions:

       -         Submit to supervision by and report for supervision to Pretrial Services;
       -         Submit to testing for a prohibited substance if required by the pretrial services office or supervising officer.
                 Testing may be used with random frequency and may include urine testing, the wearing of a sweat patch,
                 a remote alcohol testing system, and/or any form of prohibited substance screening or testing. The
                 defendant must not obstruct, attempt to obstruct, or tamper with the efficiency and accuracy of prohibited
                 substance abuse screening or testing;
       -         Participate in a program of inpatient or outpatient substance abuse therapy and counseling if directed by
                 Pretrial Services or supervising officer; and
       -         Participate in mental health counseling and treatment at the direction of the supervising officer and waive
                 all confidentiality in connection with mental health treatment in order to allow the supervising officer to
                 have direct contact with and exchange of information with mental health providers.

RESPECTFULLY PRESENTING PETITION FOR ACTION OF COURT AND FOR CAUSE AS
FOLLOWS:
  - Failed to report for random drug testing.
  - Use of illegal substances.
  - Fail to comply with substance abuse treatment

PRAYING THAT THE COURT WILL ORDER a warrant to be issued directing that the offender appear before
the Court to show cause why supervision should not be revoked.

It is hereby ORDERED that the petition, with its attachment and arrest warrant be sealed. It is further
ORDERED the petition, its attachment and arrest warrant shall remain sealed until the warrant is executed, at
which time the petition, its attachment and warrant, should be unsealed and made part of the public record.

  ORDER OF COURT                                                          I declare under the penalty of perjury that the
                                                                          foregoing is true and correct.
  Considered and ordered this 16th day of May ,
  20 22     and ordered filed and made a part of the                      Executed on: May 12, 2022
  records in the above case.                                                        Digitally signed by Kenneth Orsino
                                                                                    Date: 2022.05.12 16:11:46 -04'00'




                                                                          Kenneth G. Orsino
                                      Digitally signed by Ivan D. Davis   U.S. Probation Officer
                                      Date: 2022.05.16 09:54:04 -04'00'   703-366-2109

                            Ivan D. Davis                                 Place: Manassas
                    United States Magistrate Judge
